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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 VICTORIA DIVISION


IN RE: WARREN HENNEKE                       §      CASE NO. 16-60035
                DEBTOR

       TRUSTEE'S EMERGENCY AGREED 9019 MOTION FOR APPROVAL OF
        SETTLEMENT WITH CO-PLAINTIFFS IN STATE COURT LAWSUIT

EMERGENCY RELIEF HAS BEEN REQUESTED. IF THE COURT CONSIDERS THE
MOTION ON AN EMERGENCY BASIS, THEN YOU WILL HAVE LESS THAN 21
DAYS TO ANSWER. IF YOU OBJECT TO THE REQUESTED RELIEF OR IF YOU
BELIEVE THAT THE EMERGENCY CONSIDERATION IS NOT WARRANTED, YOU
SHOULD FILE AN IMMEDIATE RESPONSE.

THERE WILL BE A HEARING ON THIS MOTION ON ________________________ AT
____________ ______.M. IN __________________, TEXAS.


       COMES NOW, Michael B. Schmidt, Chapter 7 Bankruptcy Trustee (“Trustee”) and files

this Emergency Agreed 9019 Motion for Approval of Settlement (the “Motion”) with Carlos Y.

Benavides, individually, and on behalf of Elm-Rush, Ltd         (“Benavides”); Jason Wauson,

individually, and as representative of Overtime Whitetails, LLC (“Overtime”), Sarah Wauson,

individually, and as representative of GT Whitetails (“GT”) and Grissom & Thompson, along

with Geoffrey S. Connor, (Law Offices of Geoffrey S. Connor) attorneys (“Attorneys”). An

emergency hearing is requested because without approval of this Settlement, the Estate will miss

an opportunity to obtain funds from existing litigation in the Texas District Court. This Motion

is as follows.

        1.       Debtor filed his Voluntary Chapter 7 Bankruptcy Petition on May 4, 2016.

Thereafter Michael B. Schmidt was appointed the Chapter 7 Trustee in the Case (the “Trustee”).

A part of Debtor’s non-exempt property, which is property of the estate, includes 500 shares of
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stock in Overtime Whitetails, LLC (the “Stock”) and all of the estate’s existing and potential

claims and causes of action against Defendants, Robert Patterson, et al, in the pending lawsuit,

Overtime Whitetails, LLC, et al v. Robert Patterson, et al, Cause No. C-2016-0577-A, in the

District Court, 22th Judicial District of Comal County, Texas (the “Lawsuit”), sometimes,

hereafter collectively referred to as the “Trustee’s Overtime Assets”. The other 500 shares of

Overtime Whitetails, LLC are owned by Jason and Sarah Wauson. The Debtor, and thus the

Trustee is a co-plaintiff, with Overtime Whitetails, LLC and Benavides in the Lawsuit. Overtime

is without funds and its share of the costs of the Lawsuit has been paid and borne by GT, another

company owned by Jason and Sarah Wauson. Debtor has not paid, other than a small amount

pre-petition, and the Trustee is unable to pay the estate’s share of the costs of the Lawsuit or any

portion of Overtime’s share of such costs. The Attorneys represent all co-plaintiffs in the

Lawsuit, including the Trustee, on a 30% contingency fee. This Court has approved the

Attorneys as special counsel for the Trustee on a 30% contingency fee.

       2.      Pre-petition, the Debtor, Benavides and Overtime entered into an Agreement For

Pursuing Claims Against Patterson Energy of Texas, LLC, et al, (the “Participation Agreement”)

which provides for participation in prosecution of the Lawsuit and responsibility for all expenses

of such prosecution in the proportion 9.09% by Benavides; 72.72% by Whitetail; and 18.18% by

the Debtor. As mentioned above, the expenses of the Lawsuit have been in the most part paid

and borne by Benavides and Whitetail (through GT). The Trustee’s share of these expenses

would be 54.5% and estimated to be 54.5% of $90,000. This Participation Agreement also

requires that no settlement agreement will be entered into without the unanimous consent of the

co-plaintiffs. The Co-Plaintiffs are asserting this lack of payment by the Debtor and the Trustee

as a violation of the Participation Agreement.

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        3.     Two mediations have taken place regarding the Lawsuit paid for by Benavides

and Overtime. The Trustee has not paid for any fees of the mediators. The first mediation was

concluded without a settlement. The Trustee participated by phone in the second mediation on

January 17, 2018 and it adjourned without settling. However, on January 19, 2018 settlement

terms have been offered that are acceptable to Benavides and Whitetail, as well as the Attorneys.

The Trustee, however, is unable to accept some of the offered terms, namely the maintaining of

confidentiality and non-disclosure and indemnification. Otherwise, the Trustee believes the terms

are fair.

        4.     The Trustee has reached a settlement with Benavides; Overtime; Jason Wauson,

individually and as representative of Overtime; Sarah Wauson, individually and as representative

of GT; and Attorneys. This Settlement fully and globally settles and compromises all of the

disputes between the Trustee with Benavides, Overtime, Jason and Sarah Wauson; and the

Attorneys regarding the payment of the expenses of the Lawsuit and the Trustee’s inability to

accept the defendants’ settlement terms requiring the maintaining of confidentiality and non-

disclosure and indemnification. The parties now seek this Court's approval of this Settlement.

This Motion is being served on all creditors and parties in interest.

                           Terms of Proposed Settlement With Co-Plaintiffs

        5.     The Trustee’s Overtime Assets shall be sold to Benavides and Wauson

(“Buyers”), for payment to the Trustee of Eighty Seven Thousand Dollars ($87,000.00). This

$87,000.00 shall be deposited into the IOLTA account of the Attorneys and they shall account to

and pay to the Trustee these funds without deduction of any amounts. All of the Plaintiffs

(including the Trustee) in Overtime Whitetails, LLC, et al v. Robert Patterson, et al, are

represented by the “Attorneys. Any settlement of the Lawsuit shall also provide for release by

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the defendants therein of all claims and potential claims they may have against the Trustee and

this Estate.

        6.     As further consideration, Benavides; Overtime; Jason Wauson, individually, and

as representative of Overtime; Sarah Wauson, individually, and as representative of GT; and

Attorneys shall forever release, remise, cancel, acquit and discharge the Trustee (and his

professionals), and this Bankruptcy Estate, from any and all claims, demands, or suits, known or

unknown, fixed or contingent, liquidated or unliquidated, whether or not asserted through the

effective date of the Order approving this Settlement, arising in this Bankruptcy Case and the

Lawsuit. The releases in this Settlement shall also run to and inure to the benefit of Schmidt's

attorneys, agents, employees, heirs, assigns, and legal representatives including the Law Offices

of Michael B. Schmidt (and Michael B. Schmidt).

        7.     As further consideration, the Trustee and this Estate shall forever release, remise,

cancel, acquit and discharge Benavides; Overtime; Jason Wauson, individually and as

representative of Overtime; Sarah Wauson, individually and as representative of GT; and

Attorneys from any and all claims, demands, or suits, known or unknown, fixed or contingent,

liquidated or unliquidated, whether or not asserted through the effective date of the Order

approving this Settlement arising in this Bankruptcy Case and the Lawsuit. The releases in this

Settlement shall also run to and inure to the benefit of their attorneys, agents, employees, heirs,

assigns, and legal representatives including the Grissom &Thompson (and Don Grissom and

William Thompson).

                                    Merits Of Compromise

        8.     The merits of a proposed compromise should be judged under the criteria set forth

in Protective Comm. For Indep. Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S.

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414 (1968). TMT Trailer requires that a compromise must be "fair and equitable."TMT Trailer,

390 U.S. at 424; In re Aweco, Inc., 725 F.2d 293, 298 (5th Cir.), cert. denied, 469 U.S. 880

(1984). The terms "fair and equitable" mean that senior interests are entitled to priority over

junior interests. TMT Trailer, 390 U.S. at 441-1 Aweco, 725 F.2d at 298.

        9.      In determining whether a proposed compromise is fair and equitable, the Court

should consider the following factors:

                •       the probabilities of ultimate success should the claim be litigated;

                •       the complexity, expense, and likely duration of litigating the claim;

                •       the difficulties of collecting a judgment rendered from such litigation; and,

                •       all other factors relevant to a full and fair assessment of the wisdom of the

                        compromise.

TMT Trailer, 390 U.S. at 424. The Trustee believes that the proposed settlement satisfies the

requirements established by the Supreme Court in TMT Trailer.

                                 Analysis of Proposed Compromise

        10.     Probabilities of Ultimate Success. Based upon the terms and requirements of the

Participation Agreement, and the issues that the parties could be required to litigate, without this

Settlement, Trustee believes that his probability of success on the merits has risk.              This

Settlement ends what could be years of litigation, and numerous appeals. The Settlement

provides the Estate with a fair price, without the further duty of participating in the Lawsuit, and

releases the Trustee and this Estate from funding the Lawsuit and further participation in it. It

also releases the Estate, the Trustee and his professionals from any claims the Co-Plaintiffs (and

individual owners) may have (if any). The Trustee believes the proposed Settlement is in the best

interest of the Estate and its creditors.

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       11.     Complexity, Expense and Likely Duration. The issues are complex and novel.

The Trustee believes that without this Settlement the defendants settlement terms would be

withdrawn and the Lawsuit will have to proceed with the resulting expense and risk associated

with prosecution of it. In that event, there may arise further litigation involving the Participation

Agreement between the Trustee and the Co-Plaintiffs. This double litigation without this

Settlement would be lengthy and costly and appeals would be likely and result in more

complexity, duration and costs.

       12.     Difficulties of Collection. Trustee believes that collection is an issue and that

collection of the amounts involved has risk that they cannot be feasibly collected if the Lawsuit

must be pursued.

       Accordingly, Trustee requests that this Court approve the proposed Settlement set forth

above and for such other relief as is just.

                                              Respectfully submitted:

                                              LAW OFFICES OF MICHAEL B. SCHMIDT


                                              By: /S/MICHAEL B. SCHMIDT
                                                     Michael B. Schmidt
                                                     401 Grant Pl.
                                                     Corpus Christi, Texas 78411
                                                     Phone: 361-884-9949, ext. 200
                                                     Fax: 361-884-6000
                                                     TBN: 17775200 / FBN 10260
                                                     ATTORNEY FOR TRUSTEE
AGREED:


/S/JASON WAUSON
Jason Wauson, individually and
As representative of Overtime
Whitetails, LLC



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/S/SARAH WAUSON
Sarah Wauson, individually and
As representative of GT Whitetails


/S/CARLOS Y. BENAVIDES
Carlos Y. Benavides, individually,
 and on behalf of Elm-Rash, Ltd.


/S/DONALD H. GRISSOM
Donald H. Grissom, individually,
and on behalf of Grissom & Thompson

/S/WILLIAM W. THOMPSON
William W. Thompson,
and on behalf of Grissom & Thompson


/S/GEOFFREY S. CONNOR
Geoffrey S. Connor, individually
and on behalf of the Law Offices
of Geoffrey S. Connor


                                   CERTIFICATE OF SERVICE

        I do hereby certify that on the 26th day of January, 2018, I served a copy of the Trustee's

Motion for Approval of Settlement Agreement via electronic mail system to the persons on the

attached list.

                                             /S/MICHAEL B. SCHMIDT
                                             Michael B. Schmidt




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HOLT Texas, Ltd. d/b/a Holt Cat 16-60035 Document     135 Filed
                                            Recovery Management       in TXSB
                                                                 Systems          on 01/26/18 Page 8 of 10
                                                                         Corporation
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Dewey Dalton                                General Electric Capital Corp
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Dallas, TX 75243-7143


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                                            Irving, TX 75062-4831


Jason Wauson                                Lavaca County                                Peoples State Bank
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                                            Austin, TX 78760-7428

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Transportation Truck & Trailer Solutions    US Trustee                                   William W. Thompson, III
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Michael Baumer                              Michael B Schmidt                            Warren Henneke
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Austin, Tx 78757-1269
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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 VICTORIA DIVISION


IN RE: WARREN HENNEKE                          §      CASE NO. 16-60035
                DEBTOR


                   ORDER APPROVING SETTLEMENT AGREEMENT

       Before the Court for consideration is the Trustee's Motion (the "Motion") for Approval of

Emergency Agreed 9019 Motion for Approval of Settlement (the “Motion”) with Carlos Y.

Benavides, individually, and on behalf of Elm-Rush, Ltd             (“Benavides”); Jason Wauson,

individually, and as representative of Overtime Whitetails, LLC (“Overtime”), Sarah Wauson,

individually, and as representative of GT Whitetails (“GT”) and Grissom & Thompson, attorneys

(“Attorneys”),   as set forth in the Motion.       The Court having considered the Motion, the

evidence, and the Settlement, finds that the Settlement has been entered into in good faith, is in

the best interest of the Estate and its creditors and that it represents the settlement of disputed

claims. The Court finds that the Motion is meritorious and IT IS HEREBY GRANTED.

       The Court finds it has jurisdiction over this matter as the Trustee seeks approval of this

settlement pursuant to Rule 9019 FRBP and because the subject of the disputes being settled are

disputed claims involving "property of the Estate" and the settlement will have a conceivable

effect upon this Bankruptcy Estate.

       Upon consideration and evaluation of (i) the probability of success regarding the

disputes; (ii) the uncertainty in the factual questions and the legal issues raised in the litigation;

and (iii) the complexity and duration of the litigation and the costs and expenses associated

therewith, the inconvenience and delay; the Court concludes that the Settlement is fair,
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reasonable and equitable and in the best interests of the estate and its creditors and should be

approved. The Settlement meets all of the criteria set forth in Protective Comm. for Indep.

Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414 (1968).

        The sale of the Trustee’s Overtime Assets, as defined in the Motion, shall be “AS

IS,” and neither the Trustee or the Estate shall be liable to the Carlos Y. Benavides, individually,

and on behalf of Elm-Rush, Ltd; Jason Wauson, individually, and as representative of Overtime

Whitetails, LLC; Sarah Wauson, individually, and as representative of GT Whitetails; and

Grissom & Thompson, attorneys, for any liens, claims or interest asserted against the Trustee’s

Overtime Assets.

        IT IS FURTHER ORDERED the Trustee, Carlos Y. Benavides, individually, and on

behalf of Elm-Rush, Ltd; Jason Wauson, individually, and as representative of Overtime

Whitetails, LLC; Sarah Wauson, individually, and as representative of GT Whitetails; and

Grissom & Thompson, attorneys shall take such other action as may be necessary to carry out

the intents and purposes of the approved Settlement. Further, the Settlement and each of its

terms and conditions shall, upon entry of this Order, become binding upon the Trustee (and his

counsel), Carlos Y. Benavides, individually, and on behalf of Elm-Rush, Ltd; Jason Wauson,

individually, and as representative of Overtime Whitetails, LLC; Sarah Wauson, individually,

and as representative of GT Whitetails; and Grissom & Thompson, attorneys and all creditors

and parties in interest.

        IT IS SO ORDERED.

DATED:
                                                      ________________________
                                                      David R. Jones
                                                      United States Bankruptcy Judge



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